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                                   STATEMENT OF FACTS

        Your affiant, Special Agent Ethan Hawks, is a Special Agent assigned to Seattle Division,
Inland Joint Terrorism Task Force, Counter Terrorism. In my duties as a special agent, I investigate
violations of federal statues pertaining to domestic or international terrorism. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to and did evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Since January 6, 2021, the FBI has been investigating and identifying those individuals
who illegally entered and committed offenses within the United States Capitol and its grounds.
Investigators have determined that TAYLOR FRANKLIN TARANTO, a resident of the State of
Washington, was one such individual.

       On January 6, 2021, TARANTO attended a rally in Washington D.C. near the Washington
Monument shortly before travelling to the Capitol grounds. TARANTO approached the grounds
from the West where he ultimately joined a large crowd of rioters gathered on the Upper West
Terrace of the building. While there, TARANTO picked up and threw pieces of metal scaffolding
that were stacked on the ground, as depicted below in Figure 1.




                                              Figure 1
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        At approximately 2:33 p.m., the Upper West Terrace door to the Capitol was breached by
multiple people. Shortly thereafter, at approximately 2:38 p.m., TARANTO entered the breached
door. Surveillance footage depicts TARANTO entering amongst a mob who were streaming into
the building. TARANTO was wearing a dark all-weather style jacket with a gray hood. He also

                                              d a black walking cane.




                                           Figure 2

        From the Upper West Terrace doors, TARANTO moved through multiple areas of the
Capitol, including into the Rotunda and through Statuary Hall toward the House Chamber. At
approximately 2:42 p.m., TARANTO was captured on video standing at the entrance to the
                    an area behind the House chamber where Congresspeople were evacuating
from the House chamber to a safe location. Around this time, a rioter attempted to jump through
a glass window and was shot by a United States Capitol Police officer.
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        In the wake of the shooting, multiple members of law enforcement arrived, including
Metropolitan Police Department officers with the Civil Disturbance Unit who began to quickly
remove rioters from the area directing them from the House hallways out through the House
Interior Doors. A mob of people, including TARANTO, was directed to leave the building. Video

directives to leave. At the brink of the exit, TARANTO and multiple other rioters, including a
male identified as David Walls-Kaufman (who has been convicted and sentenced for his conduct
on January 6, 2021), scuffled with police officers. Below is a still photo, taken from Capitol
surveillance footage. TARANTO and Walls-Kaufman are circled.




                                              Figure 3

        Ultimately, TARANTO was forced to leave through the Upper House Door at
approximately 2:56 p.m. However, he remained on the Capitol grounds, moving to the East side
of the building, where he gathered with other rioters on the central steps.
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                                           Figure 4

         TARANTO stood on the steps for some time. While there, he listened to speeches by
others assembled there, and at various times yelled and cheered on other people standing in the
vicinity, smoked a cigarette, and took photos with his phone. TARANTO also fought with other
rioters, using his cane to fend them off.
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                                           Figure 5

       Directly after the U.S. Capitol Riot, a search warrant revealed data from relevant cell
towers servicing the United States Capitol on January 6 and showed that a phone number
associated with TARANTO was at the Capitol building and utilized cell towers therein during the
relevant period of time.

    As part of this investigation, law enforcement interviewed two witnesses who know
TARANTO and have interacted with him as part of their employment. When shown photographs
                                                                              .S. Capitol on
                                                            Both individuals confirmed that
TARANTO had been a frequent visitor where they work.

       Investigators are aware of a social media account,
which appears to be run by TARANTO and his wife. The biographical information for the account
reads as follows:
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                                               Figure 6

        On July 15, 2021, the Eraci Taranot account posted a video, depicting TARANTO wearing
the jacket, hat, and crossbody backpack that he is wearing on surveillance video from January 6.

sto                   , depicted below, was accompanied by a




                                           Figure 6

      On August 14, 2021, a civil suit was filed against TARANTO and named co-defendant
David Walls-Kaufman, based on actions committed during the events of January 6, 2021.
TARANTO, who is representing himself, filed numerous responsive documents in the civil
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                                                                                      th
lawsuit. In o                                                                            as a free
            1
press agent, was not involved in destruction of property and was only assisting law enforcement
in keeping the peace at the time of my assault and subsequent evacuati

On June 13, 2023, during Walls-             sentencing which took place in United States District
Court, the United States Marshal Service observed a male, with a short cut hair, beard and glasses,
later identified as TARANTO using his phone. Marshals ordered TARANTO to stop and
proceeded to escort TARANTO out of the court room. A member of the news media, present in
the courtroom for the sentencing, overheard TARANTO identify himself to the U.S. Marshals as
Taylor TARANTO.

                                                                                   lks about being

between a male identified as TARANTO, and another individual. TARANTO is interviewed on
camera, with his name displayed in the corner of the screen.




                                             Figure 7

1
 I have no reason to believe, and have seen no evidence to support, any claim that TARANTO is
a member of the news media or qualified to receive press credentials for the U.S. Capitol. Through
investigation and review of data collection services, I understand that TARANTO was a member
of the Armed Services and then continued his education and became an engineer. I have also been
advised that
concerning members of the news media, and that on or about June 14, 2023, that office received
                                                                              TARANTO is not a
member of the news media.
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       Having reviewed numerous photos and videos of TARANTO, and having listened to
recordings of TARANTO speaking, I can confirm the person in the video is TAYLOR
TARANTO. During the video, TARANTO states that on January 6, he was in the area where
Ashili Babbitt was shot. Based on my familiarity with the events of January 6, I know that Ashli
Babbitt is a rioter who was shot inside the United States Capitol while attempting to enter the


       TARANTO and the host of the interview then review video footage from January 6
together. The video footage pans across a crowd of people, revealing TARANTO himself,

makes several comments identifying




                                             Figure 8

         Based on the foregoing, your affiant submits that there is probable cause to believe that
TARANTO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
Fo
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.
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        Your affiant submits there is also probable cause to believe that TARANTO violated 40
U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and 40 U.S.C. § 5140(e)(2)(G), which makes it a crime to willfully and knowingly (G)
parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Special Agent Ethan Hawks
                                                      Seattle FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this       day of June 2023.


                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
